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                        Exhibit A
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                             DECLARATION OF CARLOS HOLGUIN
        I, Carlos Holguín, declare and say as follows:
        1. I execute this declaration in support of Plaintiffs' motion for an award of
 attorney’s fees pursuant to the Equal Access to Justice Act, 28 U.S.C. § 2412(d), for work
 performed to compel the Office of Refugee Resettlement of the U.S. Department of
 Health and Human Services and Department of Homeland Security to comply with the
 settlement in Flores v. Garland with respect to class members designated for expulsion
 pursuant to Title 42, U.S.C., and confined in hotels and other irregular facilities pending
 expulsion.
        2. I am one of the attorneys who currently serve as class counsel for Plaintiffs in
 Flores v. Garland. I have represented Plaintiffs in Flores since 1985. I have argued this
 cause for Plaintiffs before this Court, the United States Court of Appeals for the Ninth
 Circuit, and the United States Supreme Court. A true and correct copy of my resume
 detailing my experience and qualifications is attached as Exhibit A to this declaration.
        3. I am employed by, and serve as General Counsel of, the Center for Human
 Rights and Constitutional Law (CHRCL), a non-profit, public interest law firm. Since
 1984 my practice has focused on litigation, advocacy and technical support in
 furtherance of the rights of immigrants and refugees. The California Legal Services
 Trust Fund has funded CHRCL since 1982 to provide technical support and training to
 qualified legal services programs and attorneys serving pro bono publico in the areas of
 immigration law, constitutional law, international human rights, and complex litigation.
 In my capacity as CHRCL’s general counsel, I provide technical support, advocacy
 support, and training to legal aid and pro bono lawyers in these areas.
        4. In addition to this matter, I have served as lead or co-counsel in many class
 actions seeking to protect the rights immigrants and refugees. These include Perez-Olano
 v. Gonzalez, 248 F.R.D. 248 (C.D. Cal. 2008), which resulted in a nationwide settlement
 expanding eligibility for special immigrant status, an immigration benefit for abused,
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 abandoned and neglected children; We Are America v. Maricopa County, 297 F.R.D. 373
 (D. Ariz. 2013), which secured a state-wide class injunction against prosecuting
 migrants for conspiring to transport themselves; Orantes-Hernandez v. Smith, 541 F.Supp.
 351 (C.D. Cal. 1982), a national class action on behalf of Salvadoran nationals blocked
 from applying for political asylum; League of United Latin American Citizens v. Wilson, 908
 F. Supp. 755 (C.D. Cal. 1995), a state-wide class action that overturned a state
 proposition that would have denied health care, social services and education to
 allegedly undocumented immigrants; Catholic Social Services v. Immigration and
 Naturalization Service, 232 F.3d 1139 (9th Cir. 2000) (en banc), a national class action that
 restored the right of some 500,000 class members to apply for legalization under the
 Immigration Reform and Control Act of 1986; and Plyler v. Doe, 457 U.S. 202 (1982), a
 state-wide class action that established the right of children to a public elementary
 education regardless of their immigration status. In this matter, I have served as lead
 counsel and argued for Plaintiffs in numerous reported decisions, including Flores v.
 Meese, 681 F. Supp. 665 (C.D. Cal. 1988); Flores v. Meese, 934 F.2d 991 (9th Cir. 1990);
 Flores v. Meese, 942 F.2d 1352 (9th Cir. 1992) (en banc); Reno v. Flores, 507 U.S. 292 (1993);

 Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015); Flores v. Sessions, 862 F.3d 863 (9th
 Cir. 2017); Flores v. Barr, 977 F.3d 742 (9th Cir. 2020); and Flores v. Rosen, 984 F.3d 720
 (9th Cir. 2020).

        5. CHRCL’s services are available only to clients whose income is below 125
 percent of federal poverty guidelines. Before undertaking representation, CHRCL
 regularly inquiries into a prospective client’s income and resources. I accordingly
 verified that the original plaintiffs and class representatives in this matter were wholly
 indigent. In the years since, I have interviewed dozens of class members in detention
 facilities nationwide. I affirm, on the basis of more than 40 years’ experience
 representing detained immigrant and refugee children, that Flores plaintiff class
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 members are on the whole indigent, often having arrived in the United States with little
 more than the clothes on their backs.
        6. I believe that the successful prosecution of the instant motion to enforce
 required a combination of skills, knowledge, access to detained class members, and
 experience not possessed by lawyers generally. Since 1985 I have devoted a good part of
 my practice to working with immigrant and asylum-seeking minors. I am also fluent in
 English and Spanish. The majority of class members in the litigation the CHRCL
 conducts, including Flores, are monolingual Spanish-speakers. In my opinion, the ability
 to communicate with these class members in their native language is essential to afford
 them a fair chance of prevailing.
        7. The Flores settlement provides class counsel with unique access to information
 regarding plaintiff class members. Since 1997, I have regularly monitored compliance
 with the Flores settlement by, inter alia, reviewing population reports furnished only to
 class counsel pursuant to ¶ 29 of the Flores settlement. As noted, I participated in the
 negotiations that resulted in the Flores settlement, and on the basis of personal
 knowledge I affirm that Defendants insisted that only class counsel should have access
 to the information about detained class members described in ¶ 29 of the Flores
 settlement.
        8. Paragraph 37 of Flores settlement also reserves to class counsel the right to seek
 class-wide enforcement of the agreement only in the United States District Court for the
 Central District of California. Here again, the Settlement reflects Defendants’
 preference, not Plaintiffs’. In sum, Defendants themselves insisted that the Settlement
 not be enforceable by lawyers generally, but instead by class counsel, and those
 associated with them, alone.
        9. I believe that the knowledge, insight, and experience I developed over more
 than 30 years’ representing detained immigrant and refugee children in Flores were
 essential to plaintiffs’ prevailing. As a practical matter, very few, if any, lawyers have
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 comparable expertise regarding the interplay of the Flores settlement, the Homeland
 Security Act of 2002, and the William Wilberforce Trafficking Victims Protection
 Reauthorization Act. I routinely advise immigration lawyers regarding the rights of
 detained immigrant and refugee youth. I believe Plaintiffs herein would be unable to
 find counsel with comparable expertise for the inflation-adjusted rate prescribed by 28
 U.S.C. § 2412(d).
        10. As is my customary practice, I maintained contemporaneous records of time
 I spent prosecuting Plaintiffs’ motion to enforce the Flores settlement on behalf of
 children designated for expulsion pursuant to Title 42 of the United States Code. Exhibit
 B to this declaration sets forth a true and correct itemization of this time. For the most
 part, I record a brief summary of my activity, which sometimes comprises related tasks.
 For example, a time entry indicating time I spent researching and writing a brief
 includes time spent researching pertinent legal authorities, including their history,
 treatment, and related cases, in addition to drafting and editing the text itself. I have
 exercised billing judgment in preparing the attached time records to avoid block billing,
 and to exclude time I deemed duplicative, excessive, or inadequately related to the
 motion to enforce here at issue. The total time I devoted to the instant motion to enforce
 comes to 103.65 hours, as detailed in the attached itemized time records, for which I
 seek fees awarded at $775 per hour, a rate I am informed and believe is substantially
 below rates charged by lawyers in Los Angeles of comparable experience and
 accomplishment.
        I declare under penalty of perjury that the foregoing is true and correct.
        Executed this 12th day of October, 2021, at Santa Clarita, California.




                                            _____________________________
                                            Carlos Holguin
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                           Exhibit A
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                                     Curriculum Vitae



 CARLOS HOLGUIN

 Home:                                            Office:
 15920 Calle El Capitan                           256 S. Occidental Blvd.
 Santa Clarita, California 91390                  Los Angeles, CA 90057
 (213) 290-1642                                   (213) 388-8693 x109
 crholguin@centerforhumanrights.email



 PROFESSIONAL DEGREES

 •      Juris Doctorate, May 1979.

        Peoples College of Law, Los Angeles, California. Emphasis on civil rights, labor,
        and administrative law.

 BAR ADMISSIONS

 •      Supreme Court of the State of California, November 1979.

 •      United States District Court for the Central District of California, December 1979.

 •      United States District Court for the Eastern District of California, December 1979.

 •      United States Circuit Court of Appeals for the Ninth Circuit, May 1982.

 •      United States Supreme Court, February 1992.

 •      United States District Court for the Southern District of California, July 1992.

 •      United States District Court for the Northern District of California, March 2007.

 PROFESSIONAL EXPERIENCE

 •      General Counsel, Center for Human Rights & Constitutional Law, Los Angeles,
        California. 1984 to present.

 Duties: General counsel for non-profit, public interest legal advocacy center
 specializing in legal, legislative, and educational work in furtherance of the rights of
 immigrants and refugees. Serve as lead and co-counsel in impact litigation involving
 deportation, political asylum, the rights of juveniles, and social services.

 Additional duties include administration of grants, financial operations, office
 computerization, and community liaison.
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 •      Staff attorney, Westside Legal Services, Santa Monica, California, 1982-83.

 Duties: Serve as sole staff attorney for community legal assistance office providing
 services for eligible low income clients. Coordinate and supervise U.C.L.A. law
 students in clinical program involving counseling and direct representation of eligible
 clients. Maintain caseload with emphasis on eviction defense, government benefits, and
 consumer rights.

 •      Staff attorney, National Center or Immigrants' Rights, Los Angeles, California (Research
        Associate prior to bar admission), 1977-82.

 Duties: Serve as principal and co-counsel for national Legal Services support center.
 Heavy emphasis on impact litigation involving immigration, civil rights of non-citizens,
 administrative law and procedure, eligibility for government benefits, and
 constitutional law.

 Additional duties include serving as a resource attorney for Legal Services field
 programs in the areas of immigration law and procedure, refugee rights, and federal
 litigation; training of Legal Services attorneys and paralegals; legislative monitoring and
 analysis; preparation of technical articles and training materials on immigrants' and
 refugees' rights and federal litigation; coordination and supervision of El Rescate, a
 direct services project providing legal assistance to Central American refugees.

 SPECIAL SKILLS

 Read, write, and speak Spanish. Extensive experience in non-profit administration.

 REFERENCES

 Furnished on request.
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                            Exhibit B
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                                                                                  Time Report of Carlos Holguín: Flores v. Garland Title 42 "Hoteling" MTE
                                                                                  Date              Elapsed Time Comments
                                                                                         10/12/21             0.20 Prepare EAJA time records & declaration.
                                                                                          3/19/21             0.57 Edit T42 appeal status report.
                                                                                          3/17/21             2.68 R&D draft status report re 9th Cir. T42 appeal.
                                                                                          3/11/21             0.28 Review 9th Cir order; email re status report.
                                                                                          11/2/20             1.75 Edit T42 appeal answering brief.
                                                                                         10/19/20             1.78 Research motion to dismiss 20-56052
                                                                                         10/18/20             0.38 Review Gov't T42 opening bf on appeal.
                                                                                          9/30/20             0.77 T42 9th Cir. oral argument.
                                                                                          9/30/20             2.45 Prep 4 oral argument on T42 appeal.
                                                                                          9/29/20             4.83 Prep 4 oral argument on T42 appeal.
                                                                                          9/28/20             2.87 Prep 4 oral argument on T42 appeal.
                                 #:45444




                                                                                          9/25/20             5.03 R&D T42 stay opp.
                                                                                          9/24/20             1.55 R&D T42 stay opp.
                                                                                          9/23/20             0.70 T42 appeal mediation conference.
                                                                                          9/18/20             4.08 R&D T42 stayOpp.
                                                                                          9/14/20             0.28 Edit Opp to T42 MTE order stay motion.
                                                                                          9/13/20             3.45 R&D Opp to T42 MTE order stay motion.
                                                                                          9/12/20             2.78 R&D Opp to T42 MTE order stay motion.
                                                                                          9/11/20             3.78 R&D Opp to T42 MTE order stay motion.
                                                                                          9/11/20             0.27 R&D stayOpp.
                                                                                           9/4/20             3.80 Prep for T42 MTE hearing and attend hearing.
                                                                                           9/3/20             0.85 Review Gov't objections to monitor's T42 2d report.
                                                                                          8/27/20             8.30 R&D T42 MTE reply.
                                                                                          8/27/20             0.28 Conf. call re MTE reply.
                                                                                          8/26/20             3.87 R&D T42 MTE reply.
                                                                                          8/25/20             5.43 R&D T42 MTE reply.
                                                                                          8/24/20             6.27 R&D T42 MTE reply.
                                                                                          8/14/20             0.48 Call w/co-counsel re T42 MTE.
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                                                                                            8/14/20     2.13 Edit T42 MTE brief.
                                                                                            8/12/20     8.08 R&D T42 MTE.
                                                                                            8/10/20     1.62 R&D T42 MTE.
                                                                                            8/10/20     0.60 conf call w/ACLU-IRP re T42 placements.
                                                                                             8/6/20     3.07 R&D reply to T42 report response.
                                                                                             8/6/20     0.43 Finalize & file T42 reply.
                                                                                             8/5/20     1.62 Research T42 "legal custody" issue.
                                                                                             8/4/20     1.12 Review T42 report response & briefing.
                                                                                             8/3/20     0.42 Conf. call w/Monitor re: data on T42 detainees.
                                                                                            7/29/20     0.42 Edit T42 meeting report
                                                                                            7/28/20     3.78 R&D submission re: T42 settlement coverage
                                                                                            7/28/20     1.22 Telecon w/ACLU-IRP & debrief re T42 detainees.
                                                                                            7/27/20     0.45 Conf call w/Independent Monitor.
                                                                                            7/27/20     1.05 Meet/confer re T42 detainees; debrief; follow up email.
                                                                                            7/22/20     0.78 Telecon w/ACLU-IRP re T42 expulsions.
                                 #:45445




                                                                                            7/14/20     0.78 Edit T42 FOIA request.
                                                                                            7/10/20     0.92 Contact orgs re: T42 expulsions.
                                                                                             7/9/20     1.10 Review May census reports; email re interpretation.
                                                                                             7/8/20     4.30 Draft T42 FOIA requests.
                                                                                  Total hours         103.65
